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                           SOUTH ERN D ISTR ICT O F FLOR IDA
                                    M IAM I D IV ISION

                      Case No. O4-I4OIS-CIV-GRAHAM/MAYNARD

  UN ITED STATES OF AMERICA ,

          Plaintiff,

  VS .

  ANDRE JAMAAL WILLIAMS ,

          Defendant .


                                         ORD ER

          THIS CAUSE cam e before the Court on the Magistrate Judge 's

  Report and Recommendation on Final Hearing in Respect to the

   Petition Alleging Violations of Supervised Release ED .E . 1761, and

  Defendant Andre Jamaal Williams's Objections                      the Magistrate
  Judge's Report and Recommendation. (D .E.
          THIS MATTER was assigned to the Honorable United States

  Magistrate Judge Shaniek M . Maynard , on July                  2017 .    On August

   l8,     2017,     Magistrate     Judge    Maynard     issued     a     Report   and

  Recommendation        recommending     that Defendant       ube   found    to    have

  violated his supervised release in respect to Violations                          and

         except that with respect to Violation 2, there is no finding

   that Defendant possessed a synthetic narcotic, opium or derivative

   with intent          sell , deliver , manufacture within 1000 feet of a

   place           worship ,   or   possessed     new   legend    drugs    without    a

   prescription          violation of state              ED .E. 1761. Thereafter,
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  Defendant filed timely objections to the Magistrate Judge's Report
  and Recommendation . ED .E.

         1.   Defendant's Objections
         First, Defendant generally objects to             finding that the
  government has established Violation l by a preponderance of the

  evidence.ED .E.        at !11 With respect to Violations             and
  while conceding that he may have touched the firearms at issue ,

  Defendant denies that he possessed or exercised domin ion and

  control over the firearms. ED.E.               $2 and      Also, Defendant
  objects, without any supporting law, to the Report's correlation
  that the usmall quantities of drugs located on the prem ises are

  evidence        firearm possession.'' (D.E.             at !31     Finally,
  Defendant objects to the conclusions that                    possessed

  grams of marijuana with the intent to distribute ,            possessed
   excess        20   grams        marijuana, and            possessed     drug
  paraphernalia in the form of clear baggies and a digita l scale .

   ED .E .    at $4-61
              Analysis

         Upon a finding uby a preponderance of the ev idence that the

   defendant violated         condition      supervised release ,'' Section

   3583(e) (3) permits the court           ''revoke a term of supervised

   release , and require the defendant to serve in prison all or part

   of the term of supervised release'' 18 U .S.C. 5 3583 (e) (3)         United
   States v . Cunningham,        F.3d 1264, 1266 (11th           2010). After
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  an independent review of the record the Court agrees that the

  Defendant's violation          supervised release has be proven by a

  preponderance of the evidence. Cunningham at 1268 (11th Cir. 2010).
  Moreover , the Court finds no persuasive argument                Defendant's

  objections to the Magistrate's Report and Recommendation.
        111. Conclusion

        THE COURT has conducted an independent review of the record and

  is otherwise fully advised in the premises . Accordingly , for the

  aforementioned reasons ,        is

        ORDERED AND ADJUDGED       that United States Magistrate Judge

  Shaniek M . Maynard Report ED.E. l4q is hereby RATIFIED, AFFIDMED and

  APPROVED in its entirety .      It is further

           ORDERED AND ADJUDGED that Defendant Andre Jamaal Williams

   found         have violated his superv ised release with respect to

  Violations            and    except that with respect to Violation

  Defendant did not possess a synthetic narcotic, opium or derivative

  with intent to sell, deliver , manufacture with in 1000 feet of a

  place     of   worship ,     possessed    new   legend   drugs    without     a

  prescription in v iolation of state law .
           DONE AND ORDERED in Chambers       Miami Florida , this z l av
                                                    ,


   of September, 2017.

                                            DONA LD L . GR AHAM     E
                                            UN ITED STAT ES D ISTR ICT JUDG E




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